
USCA1 Opinion

	










          October 17, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________


        No. 95-1482 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   ANGEL VELAZQUEZ,

                                Defendant, Appellant.


                                 ____________________

                                     ERRATA SHEET



            The  opinion of this  court issued on October  16, 1995 is amended
        as follows:

            On  cover  sheet,  change  "Watson,  Senior  Circuit  Judge,"   to
                                                 ______________________
        "*Watson, Senior Judge,".
                  ____________

            *Senior  Judge, U.S.  Court  of International  Trade,  sitting  by
        designation.
























        October 16, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           

                                 ____________________


        No. 95-1482 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   ANGEL VELAZQUEZ,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO


                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                                *Watson, Senior Judge,
                                         ____________
                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Graham A. Castillo Pagan on brief for appellant.
            ________________________
            Guillermo   Gil,  United   States  Attorney,   Edwin  O.  Vazquez,
            _______________                                __________________
        Assistant United States Attorney, and Jose A. Quiles-Espinosa on brief
                                              _______________________
        for appellee.


                                 ____________________


                                 ____________________

            *Senior Judge,  U.S.  Court  of  International Trade,  sitting  by
        designation.
















                      Per Curiam.  Appellant pled guilty to violation  of
                      __________

            31  U.S.C.       5316  and  5322,   failing  to  report   the

            transportation of more than $10,000 in United States currency

            from  the United  States.   At  the  sentencing hearing,  the

            district court reviewed  the plea  agreement with  appellant,

            and appellant indicated  that he understood the terms  of the

            agreement as well  as the maximum penalties  for the offense.

            He now argues that  the $500.00 fine imposed by  the district

            court was excessive and violates the "Excessive Fines Clause"

            of the Eighth Amendment.

                                          I.
                                          _

                      The agreed-to facts, as reflected in the "Plea  and

            Forfeiture Agreement,"    indicate that  appellant, about  to

            board  an  airplane  from  Puerto  Rico  to  Santo   Domingo,

            Dominican  Republic,  was  selected  for  interview  by  U.S.

            Customs  agents.     Appellant  was  asked   whether  he  was

            transporting over  $10,000.00 in U.S. currency.   He answered

            that he was  transporting only  $1,200.00.  A  search of  his

            bags revealed $25,258.00.

                      Appellant agreed to plead guilty1 and  indicated on

            the plea  agreement his  understanding  of the  penalties  he

            faced -- a term of imprisonment  of not more than five years,

            a  fine  of  up to  $250,000.00,  and  a  three-year term  of




                                
            ____________________

            1.    As part of the plea agreement, the Government agreed to
            request  the dismissal of Count  Two of the Indictment, which
            charged appellant with knowingly  making a false statement in
            violation of 18 U.S.C.   1001.  















            supervised  release.    He agreed,  too,  to  forfeit to  the

            Government  25  percent  of   the  $25,258.00  he  was  found

            transporting  ($6,315.00)  and  to  pay  a  special  monetary

            assessment  of  $50.00.     Finally,  he  indicated  that  he

            understood  that  the  court  was   not  bound  by  the  plea

            agreement.

                      At  the  sentencing  hearing,  the  district  court

            reviewed   the   plea  agreement   with  appellant.     After

            satisfactory response,  the  court sentenced  appellant to  a

            three-year term of probation, and ordered  a fine of $500.00,

            a $50.00 special monetary assessment, and the above-described

            forfeiture.2    Appellant  paid  the  fine  and  the  special

            assessment within a week of the sentencing hearing.

                                         II.
                                         __

                      Appellant claims that the  fine imposed in his case

            violates   the  "Excessive  Fines   Clause"  of   the  Eighth

            Amendment.   He  does not  argue that  the court  was without

            statutory power to impose the fine, that he is unable to  pay

            the  fine, or  that  there are  any  double jeopardy  or  due

            process  implications.  His legal challenge to the fine boils

            down to this:   since he is already forfeiting  a substantial



                                
            ____________________

            2.    Under the relevant sentencing guidelines, appellant had
            an  offense level of 8.  At  this level, the court could have
            imposed a term  of 0 to 6 months' imprisonment  and a fine of
            $1,000.00 to $10,000.00.  U.S.S.G. Ch. 5 Pt.A;   5E1.2(c)(3).


                                         -3-















            amount of money  to expiate his  wrongdoing, the addition  of

            another $500.00 is excessive.

                      A party bringing an Eighth Amendment excessive fine

            claim must  show, after a "threshold  comparison" between the

            gravity of criminal conduct and  the severity of the penalty,

            an "initial  inference of gross disproportionality."   United
                                                                   ______

            States v. Bucuvalas, 970 F.2d 937, 946 (1st Cir. 1992), cert.
            ______    _________                                     ____

            denied,  113  S.Ct.  1382  (1993).     We  can  perceive   no
            ______

            disproportionality or unfairness here.   Cf. United States v.
                                                     ___ _____________

            Pilgrim  Market  Corp.,  944 F.2d  14,  22  (1st Cir.  1991).
            ______________________

            Appellant  has no quarrel with  the forfeiture of  25% of the

            unreported funds, but only with the imposition of the $500.00

            fine.   That additional3 sum, considered  even in conjunction

            with the forfeited  amount, was well below  the statutory and

            guideline maximums and did not transgress the Excessive Fines

            Clause.

                      The judgment is affirmed.  Loc. R. 27.1.
                                      ________









                                
            ____________________

            3.    There was  never any promise or understanding  that the
            appellant's total  exposure was 25  percent of the  amount at
                        _____
            issue, or  $6,315.00, compare   United States v.  Maling, 942
                                  _______   ________________________
            F.2d 808, 811 (1st Cir.  1991); rather, it was made clear  in
            the plea  agreement and at  the sentencing  hearing that  the
            maximum fine to which appellant was exposed -- $250,000.00 --
            was entirely separate from the amount to be forfeited.

                                         -4-









